C. M. NUSBAUM, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Nusbaum v. CommissionerDocket No. 7046.United States Board of Tax Appeals10 B.T.A. 664; 1928 BTA LEXIS 4044; February 13, 1928, Promulgated *4044  Petitioner and another party employed a geologist to investigate the oil possibilities of a certain tract of land.  After investigation the geologist advised the acquisition of a lease on such land.  It was agreed that the remuneration of the geologist should be the right to receive one-third of any profits resulting from the operation of the lease.  Later in the year, as a result of disagreement, the lessees of record paid the geologist certain amounts as consideration for his right to receive profits.  Held, that the amounts so paid were capital expenditures.  Phil D. Morelock, Esq., for the petitioner.  L. A. Luce, Esq., for the respondent.  LANSDON *664  The respondent has asserted deficiencies in income tax for the years 1920 and 1921 in the respective amounts of $1,860.71 and $127.90.  The petitioner alleges that the respondent erred in disallowing a certain payment as an ordinary business expense and in determining that such payment was a capital transaction.  No evidence was adduced as to the deficiency asserted for 1921.  FINDINGS OF FACT.  Some time in the taxable year the petitioner and one G. S. Tucker became interested in the*4045  oil possibilities of a certain 40-acre tract of land in Marion County, Kansas.  Prior to the acquisition of a lease of such property, they secured the services of one A. B. Carney, an oil geologist, who made an extended investigation and study of the same and advised its purchase. As payment for his services as investigator and oil geologist, it was agreed that Carney should receive one-third of any profits that should result from operations under the lease, but no assignment or transfer of any interest in such lease was made to him.  Later in the year the record owners of the lease, the petitioner and Tucker, had a disagreement with Carney as to the method of determining the said Carney's share of the profits resulting from operations.  Following such disagreement, Carney surrendered his right to receive any profits and received therefor the amount of $23,000, of which the petitioner paid $7,640.  In his income-tax return for 1920, the petitioner deducted from his gross income the amount paid to Carney as a business expense for that year.  Upon audit of such return, the respondent disallowed the deduction and held that amount paid should be regarded as part of the capital cost*4046  of the lease and determined the deficiency here in controversy.  *665  OPINION.  LANSDON: The only question here is whether the amount paid by the petitioner to Carney was a capital expenditure or an expense in the nature of a fee for professional services.  Even if the payment was a fee for services rendered, the respondent maintains that it was not an expense deductible from gross income of the petitioner for the taxable year, but a capital outlay incident to the acquisition of the lease.  Upon authority of many cases already decided by the Board, we must approve the determination of the respondent.  ; ; . No evidence relating to the deficiency for 1921 having been presented, the determination of the respondent is approved.  Reviewed by the Board.  Judgment will be entered for the respondent.